Case 1:18-cv-00176-L1\/|B-1\/|SN Document 1-2 Filed 02/15/18 Page 1 of 1 Page|D# 14

is 44 (Rev. 013/m

The ._IS 44 civil cover sheet and the information contained herein neither re lace nor supp}em
provided by local rules of court. This form, approved by the Judicial Con erence of` the nit

CIVIL COVER SHEET

Service of pleadings or other papers as re uired by law, except as

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september 1974, is required for the use cf the lerk ofcourt for the

ed States in

purpose ofinitialing she civil docket sheet. (SEE INSTRUCT!(JNS ON NEXTPAGE OF TH.'S FGRM.;

 

I. (a) PLAINTIFFS
Renee Knapton, individually and On Behalf of Al| Others Simi|ari|y
Situated

(b] County of Residence of First Listed Plaintiff
(EXCEPTIN U.S. PLA[N'[TFF CASE$)

DEFENDANTS
Professiona| Bureau of Co||ections of N|ary|and, |nc.

County of Residence Of` First Listed Def`endant
(.'N U.S. PLAINTIF`F CASES ONLY)

Th%!r}`a§t§r!§¥%g`d'éndvapedddress. and Tei'ephorie Number)

10326 Lomond Dn`ve

Manassas, VA 201091' 703-361-9277

NOTE: IN LAND CONDEMNATION CASES` USE TH

THE TRACT OF LAND rNVOLVED.

Attorneys (i_'fKnowm

 

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II. BAS]S OF JURISDlCTION (P!ace rm "X":`n One Bax Oni'y,i

13 l U.S. Govemment

Plaintif’f

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1 10 lns\mml:c

120 Marlne

130 Millcr Act

140 Negoliab]e Instrurnerlt

150 Recovcry ovacrpayment
& Enf'orcement ofJudgmenl

151 Medicare Act

152 Recovery of Del"aulled
Student Loans
(Excludcs Veiemn.s}

153 Rccovery of Overpayrnent
of Vetcran`s Benefirs

160 Slockholders' Suits

190 Other Contract

195 Conlract Produci Liabilily

196 Franchisc

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210 Land Condcn'mation
220 Forel:losure

230 Rent Lcase & Ejeccmen:
240 Tons co Land

245 Tort Produci Liability
290 All Other Rea| Property

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§ 3 chcral Quesn`on
(US. Govermnen! Nol r1 Par!_v)

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(!rrdic‘a!e Ci`!r`:enship ofParr£es in kern H!)

 

PERSONAL INJURY PERSONAL INJURY

f.'~`or Di`versl`!y Cases Om'y)

lll. C[TlZENSHlP OF PRINC|PAL PARTIES (Pi'ace an "X" in One Bo)rfor Pl'a|`nli`J_']'

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Click here for Nature of Suit Code Descri tions

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cl 422 Appcai 23 usc 153
cl 423 Wichomwal
28 USC 157

3 625 Drug Rclat<:d Scizure
ofl’roperty 21 USC 881
'J 690 Olh::r

     

D 820 Copyrights

D 1130 Paccnl

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New Drug Applicalion

3 840 Tradernark

 

[J 310 Airplane CI 365 Persnna¥ lnjury -

C| 315 Airplane Producl Product Liabilicy
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1'_'| 320 Assaul!` Libel & Pharmaceutica|
Slander Persona| lnjury

Cl 330 chcm| Employers’ Producl Liabilit}.l
Liabiliiy ij 368 Asbestos Personal

Cl 340 Marine lnjury Product

1.".| 345 Marine Product Liability
Liabi]ily PERSONAL PROPERTY 3

ij 370 Olher qud

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CJ 380 Olher Persona|
Properly Damage

Cl 385 Property Darnagc
Product Liability

Cl 350 Motor Vehiclc

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l:l 440 Other

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Act Fl 862 B|ack Lung (923}

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IJ 740 Railway Labor Act 13 865 RSl (405{g)]

D 751 Family and Mcdical
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1:| 790 Oihcr Labor Litigation £1- - ' "17' 1 'i "=
Cl 791 Employee Reiiremem 111 870 Taxes (U.S. Plaintif`t`
lncome Sc¢:i.lrit)¢l Ac\ or Dcfcndarn)

C| 1171 [RS-Third Party

26 USC 7609

 

Cl 443 Housingf Sentence
Accommodalions Cl 530 General

111 445 Ameri w/Disabi|iiies- Cl 535 Dealh Penalty
Employmem Other:

111 446 Amer. waisabi|ities - 0 540 Mandamus & Other
Othcr Cl 550 Civil Righls

Cl 555 Prison Condition

Cl 560 Civil Detainee -
Condirions of
Cont`inement

13 448 Educa[ion

 

 

 

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Cl 462 Naturalization App|lcation
1:| 465 Oiher Immigralion
Actions

 

 

 

l:l 375 False Claims Aci

1:| 376 Qui Tam (31 USC
37'29(3))

L_.l 400 Stzlc Reapportionmem

`5€ 1:| 410 Antitn.lst

|:l 430 Banks and Banking

|:l 450 Commerce

13 460 Deporta|ion

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Corrupt Organizalions

:. 11480 Consumer Crcdit

IJ 490 CablelSat TV

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Exchange

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El 893 Environmenml Mat\eis

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13 896 Arb`rtration

13 899 Adminis!ralive Procedure
Ac¥fReview or .Appeal of`
.Agency Decision

El 950 Constitutionaliiy of
Siate Sta!ules

 

V. ORIGlN (Piuce an "X" in One Ho.\' Oni'w

g l Original

Proceeding

VI. CAUSE OF ACTION

VII. REQUESTED lN
COM PLAINT:

Cl 2 Removed from
Stare Couri

Remanded from 13 4

Appellale Court

l:l 3

Cite the U.S. Civi] Staiute under which you are fili
15 USC 1692
Brief description of cause:

violations of the FDCPA

13 cHECK 1F THiS 15 A cLAss ACTloN
UNDER RULE 23, F.R.cv.P.

 

VIII. RELATED CASE(S)

(See r'nsrmcrions):

Reinsla!ed or
Reopened

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Another Districl
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J URY DEMAND:

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13 8 Multidistrict
litigation -
Direct File

CHECK YES only if demanded in complaint

§ Yes DNo

 

 

RECF.lPT #

IF ANY iuDGE __ _________ ii DOCKET NUMBER _ _ __ __
D.ATE S[GNATUR ATTURNEY OF RECOR.D
}~/ V‘ ’5/ j
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AMOUNT APPLY|NG IFP JUDGE MAG. .IUDGE j

